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        Exhibit 18
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                                                      M4SrER OF 7W!
                                                       MYSr/cars/
                                                                                          SKILLFULLY MERGING HI
                                                                                           ETHEREAL SELF WITH 14
                                                                                           HUMAN SHELL., PR. STRAi
                                                                                           URGENTI.Y CLIMBS 4 flEA
                                                                                                WATER TOWER,,.
                                                                                           EVEN THOUGH I
                                                                                          CAMA'OTSSE.
                                                                                            THIS LADDER
                                                                                           FORTUNATELV,
                                                                                          CAN BE ClIMBED
                                                                                          WV TOUCH ALONE




                                                                                                         BUT IF THE
                                                                                                        ONES ATTAC
                                                                                                        AT THIS MO,
      BEFORE I CAN BATTLE THE
       FORCES THAT THREATEN
                                                                    9tt                                 I AM Doas
                                                                                                       FOR WITHOUT
                                                                                                            AM 1RU
     PN9S,c41.
      ME I MUSTBODY  io a
                 GUIDE-my                                     IN THE SOMBRE SHADOWS                      PRAWWREf
                                                             OF A DARKENED GREENWICH
        PLACE OP SANCTLIAfl...
                                                                VILLAGE ROOFTOP THE
                                                                                           VET, I MUST CHANCE IT! 4
                                                             MASTER OF THE MYSTIC          BODY .IWSr BE HIDDEN
                                                             ARTS FIGHTS A SEEMINGLY       WHERE IT WILL NOT BE
                                                             HOPELESS S'JGGLE AGAINST              FOUND,1
                                                              THE DEMONIAC DISCIPLES
                                                             OF WE VANISHED MORDO/
                                                             aui WITH HIS EARTHLY
                                                              FORM ALMOST HELPLESS,
                                                             NOW CAN DR. STRANGE'S
                                                             SPIRIT SELF SURVIVE THE
                                                                DEADLY ONSLAUGMn
                                                              MW KNOW- RUT WE'RE NOT
                                                                     TELLING/
                                                                                                                  14




                                                                                                            MY AR
                                                                                                          HOOKED
EVEN THEN MY                                                                                              A RUNG'
  CAUSE I5'A                                                                                             'WILLPRC
DESPERATE ONE!                                                                                              ME FR
 I CANNOT RISK                                                                                             DROWN
AN ENCOUNTER
WITHOUT FIRST
RECOVERING MY                                                                             QUICKLY.- QG'IC4tV tu
MAGICAL aaqx                                                                              CREATURES OF LITILE
 ANDAMU&61V                                                                               WORTH WE MUST
                                                                                          LOCATE THE DISCIPLE
                                                                                          OF THE ANCIENT ONE--
                                                                                          OR OUR VERY 4/YES
                                                                                            WILL ØE FORFEIT
                                                                                          •WHEN MORPO RETURNS!



                                                                                                                  0
                                                                                          HE SHALL
                                                                                          BEFOU4'




                         ED/7E0 AND QSSAS4't.o Sr     STAN LEE
                         wrnrrew AND env,e,rren si,   ROY THOMAS
                         P407760 .4N0 DRAWN a         STEVE DITKO
                         LET7PREO AND acorre,o S r    APTIE SIMEX

                            P\WI        lkXX

                                                                 of




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        tdW'                                                       )h    I
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 jhS/tl'Z )dJdPr     .-       see chaJ- /C'1                     tcS           a-.'
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                              C.p       mu/+-




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                                                bca/clt'M7




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STER or THE                    5KILLFULLY MERGING HIS
                                ETHEREAL SELF WITH HIS
                                                                 PRAISED SE THE HOARY HOSTS
                                                                 OF HOGGOTH! I MADE IT 70
                                                                                                   BUT, I MUST NOT GROW

'ST/C ARTS.'
                                                                                                    OVER- cay.cvosM7 THE
                                HUMAN SHELL, PR. STRANGE         THE WP"JN SAFETY.'NOW 70          SCALES OF POWER STILL
                                URGENTLY CLIMBS 4 NEARBY         GIVE MY MATERIAL FORM 4              FAVOR MVS,VS44IEZ'
                                    WATER TOWER                      NEW HIDING-PLACE.'
                                EVEN THOUGH
                               CAWNOTSEE...
                                THIS LADDER
                                roR'ruNATELg
                               CAN BE CLIMBED /
                               5/TOUCH ALONE. f

                                    a




0%7
                                              BUZ IF THE EVIL.                                                          THIS
                                             ONES ATTACK MB                                                       WATER IS
                                             AT THIS MOMENT.                                                    COLD"SEt flY
     lot                                     X AM DOOMED--
                                            FOR WIThOUT VIIO%
                                                                                                                 .cceezrnø'
                                                                                                                   CAN I
                                               IAM TRULY                                                         SURVIVE IT
  IN THE SOMBRE SHADOWS        Is                                                                                 FOR LONG
  OF A DARKENED GREENWICH
    VILLAGE ROO FTOP,THE       YET I MUST CHANCE IT! MY           AND NOW, WE MOMENT          'ThEN, HIS WRAITH-LIKE SHAPE
  MASTER OF THE MYSTIC         BOISY HosT Be HIDDEN               HAG CE 70 RS#C              PASSING NOISELESSLY lflgu THE
  ARTS FIGHTS A SEEMINGLY      WHERE IT WILL NOT BE              ALC."IN A FrNA               METALLIC SIDES OP THE TOWER,
P HOPELESS STRUGGLE AGAINST           FOUND S'                   ATTEMPT 7D REGAIN            THE MIGHTY SORCERER BEHOLDS.,.
   THE DEMONIAC DISCIPLES'                                          MY CAPE AND
  OF 'TUE VANISHED MORDO/                                             AMULET.'
  sui WITH MIS EARTHLY
  FORM ALMOST HELPLESS,
  HOW CAN DR. STRANGE'S
  SPIRIT SELF CURSIVE THE
    DEADLY ONSLAUGHT?
   WE ICNOW'"'Btfl WE'RE NOT
  •       TELLING!




it
                               1 1,              MY ARM"
                                               HOOKED OVER
                                               A RUNG THUS
                                               WILL PROTECT
                                                                 FOR ONLY WITH 2WE4V
                                                                 ad r NOPE THAT
                                                                                                               7ME gOEJ(049--
                                                                                                             MJD BARON A4ORDO'S
                                                                                                          HENCHMEN! 'TUE9'RE
                                                                                                          LEAVING NO STONE
                                                                                                          UNTURNED 114 THEIR
                                                                                                         RELENTLESS 66AROY
                                                 ME FROM           MIC78P WILL                                  FOR ME/
                                                DROWNING!            Be MINE!


                               QKLY"- QWCAtV YOU        ZIP RE RETURNS, THAT
                               CREAmRES OF LITtLE        IS! HE HAS NOT BEEN
                               WORTH.' WE MUST             SEEN BY US FOR
                               LOCATE THE DISCIPLE           MANY WEEKS!
                               OF THE ANCIENT ONE
                               OR OUR VERY LIVES
                                 WILL AS FORFEIT         YET" NO MATTER! FOR,
                                WHEN MORDO RETURNS       IF OUR EVIL MASTER
                                                          IS NO MORE, 2 MAY
                                                          INHERIT THE MANTLE
                                                         - OF HIS POWER/

                                NE SHAU,'
                               BETFOt%'O!




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IOM4S
DITKO
SIMEI(




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                                                       I




          JR/CA'EO.914E WANTED 10
             MAKE JA CM OP US        DEEP--DEEP IN1b WE IRRESISTIBLE PL.OA11NG
                                                                                   FIRST, YOU WILL REMOVE              IT SHALL BEE,
           ELIMINATE WE OTHER         ORB STARES THE WIDE-EYED HOW-HELPLESS        THE CONSTRAINING DEVICES
                                     SORCERESS, AG 1742 LAST REMNANTS OF HER                                           DONE AT ON
           WITH OUR MAGIC SPELLS/                                                  FROM MV ENTRAPPED BODY--
                                     ONCEMIG4ry RESISTANCE SLOWLY VANISH.;,                                              MASTER!
                                                                                   SO THAT I NEED REMAIN A
                                     .1 HEAR... AND                                   IV.QA/7W NO LONGER/
                                                      THEN --AT
                AND MIS PtA             006)' 0       LAST--:
              ALMOSTSIe                    TIWS OF      HAVE
              --FOR MY BOLT 1445.        MAGI/        l JW
               STRUCK




                                                                             /1
     ARIOUS WIZARPESS HAS
                                         THE
     .(IRD--ANDC/4'4LT,
     GONIST'S TANGIBLE fS''
                       7             FOLLOWING                        -C          Awo. AS'THE TALL, PROUD PI&IRE AGAIN FASTENS
                                                                                  174E AMULET AT HIS THROAT--AS WE BRIGHTLY-
                                       MOMENT
                                        WITH Mt                                   COLORED CLOAK LEVITATES 10 ITS ACCORDED PLACE
                                        AUDIBLE                                   --THERE CAN BE NO DOUBT THAT THIS IS INDEED
                              100,      SIGH OF                                   PR, SZQ4VCE--TUIS IS INDEED THE MASTER OP
                                        RELIEF                                                THE MYSTIC ARTS!
                                      WHICH HAS
                                      BEEN LONG
                                       IN COMING,
                                      THE SPIRIT
                                        $-'dRM OF
                                     PR.STRAIJGG
                                       MERGES
                                      SILENTLY
                                      WITH HIS
                                      PHYSICAL
                                      BODY--AS
                                      -  flME
                                        irsa,
                                      SEEMS 'Tb
                                      PAIJSE,IP4
                                      WON DER—


                                                                                  STILL, ALL IS
         THE CAPE-- WRAPPING                                                        NOT QUITE
        ITSELF AROUND MY ARMS It.                                                  DONE HERE/


                                     visiia11,
          IN THIS POSITION, I                                                        THERE
         CANNOT EMPLOY ANY                                                        REMAINS avg
          MAGICaL GESYIRES!                                                       TACK VET 10
                                                                                   COMPLETE!

     V WHAT X WAS ospewawo
     01, WHILE YOUR HANDS ADS                                                     BUT, FOR PR. STRANGE,        MORDO'S POWER LINK
     'E ..WYS7YC EYE WILL PERFORM                                                 17IE FIGHT is NEVER  -
                                                                                                               WITH EARTH IS NO MORE!
     IAAIC2 ItO5 WILL SUBSERVIE                                                   FULLY EN PEP 7742 BATTLE     THAT MEANS Z CAN TURN
       10 MINE,                                                                     IS NEVER 1*ULY WON.,.      MY VHDl VIDEO ATTENTION
                                                                                                                 TO... 7W6     ,-AO
                                                                                                                        .U4A4A4C4


                                                                                                                                    fit



                                                                                                                             S
                                                                                                           FOR, HE MOLDS AS Al/tONER
                                                                                                   S       ONE WHO A/CEO Me! AND I
                                                                                                           SHALL NOT-- I C4WAVt-'-
                                                                                                              REST UNTIL SHE IS
                                                                                                            RES'EO-- OR AvawsEof
                                                                                  So ENDS OUR MODERN MAGICIAN'S FEAR-FRAUGHT



     'C
                                                                                  FROLIC WITH MORpO's MINIONS' SLIT DOC'LL SE
                                                                                  BACK NEXT ISSUE WITH A NEW PULSE-FDUNDING
                                                                                  TALE! BE SURE TO JOIN US... WE HATE PAVING
                                                                                  TO EXPLAIN WHAT YOU MISSED! TILL THEN-
                                                                                    PONT TAKE ANY WOODEN AMULETS,
                                                                                            YOU MASICLflI,YOU/




                                                                                                                            1H0M0002627



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